                 Case 22-20610-TPA                      Doc 32         Filed 06/13/22 Entered 06/13/22 16:28:54         Desc Main
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                                               IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Mario M. Perry Jr.                                                             CHAPTER 13
                                                                Debtor(s)
                                                                                                    BKY. NO. 22-20610 TPA


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                            Kindly enter my appearance on behalf of U.S. Bank Trust National Association, not in
                    its individual capacity, but solely as trustee of Citigroup Mortgage Loan Trust 2019-E and
                    index same on the master mailing list.



                                                                  Respectfully submitted,


                                                                  /s/ ${s:1:y:_________________________}
                                                                       Brian Nicholas
                                                                       10 Jun 2022, 09:21:41, EDT

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